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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 13-222V
                                     Filed: February 27, 2015

* * * * * * * * * * * * * * * *                           UNPUBLISHED
MARY E. THOMPSON,                            *
                                             *
                                             *            Special Master Dorsey
              Petitioner,                    *
                                             *
v.                                           *
                                             *            Joint Stipulation on Damages;
SECRETARY OF HEALTH                          *            Tdap vaccine; Headaches;
AND HUMAN SERVICES,                          *            Chest pain; fatigue; dizziness
                                             *
              Respondent.                    *
                                             *
* * * * * * * * * * * * * * * *
Lisa A. Roquemore, Law Offices of Lisa A. Roquemore, Irvine, CA, for petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On March 28, 2013, Mary E. Thompson (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner
alleged that as a result of receiving a tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine on
April 11, 2012, she suffered from headaches, chest pain, fatigue, dizziness and disorientation.
Stipulation at ¶ 2, 4. Further, petitioner alleged that she experienced residual effects of her injury
for more than six months. Id. at ¶ 4.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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        On February 27, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the Tdap vaccine caused or
significantly aggravated petitioner’s alleged injuries or any other injury, and also denies that
petitioner’s current disabilities are the result of a vaccine-related injury. Id. at ¶ 6. Nevertheless,
the parties agree to the joint stipulation, attached hereto as Appendix A.

       The undersigned finds the stipulation reasonable and adopts it as the decision of the Court
in awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $25,000.00, in the form of a check payable to petitioner, Mary E.
       Thompson. This amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioners’ compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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